                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN

WILLIE JAMES NEWMAN                                   )
                                                      )
               Plaintiff,                             )
                                                      )
vs.                                                   )
                                                      )
MICHAEL VAGNINI,                                      )       Case No. 2:15-cv-01363-JPS
JEFFREY CLINE and                                     )
PAUL MARTINEZ                                         )       Judge J. P. Stadtmueller
                                                      )
               Defendants.                            )       Jury Demand

        PETITION FOR A WRIT OF HABEAS CORPUS AD TESTIFICANDUM

       The plaintiff, Willie James Newman, by his attorney, Ronald Bornstein, respectfully

petitions this Court for a writ to secure the appearance of the following individual, who is believed

to be confined at the Milwaukee County Jail, for the following judicial proceeding:

       Defendant:      Carlando A. Mukes, DOC No. 00266061, DOB xx/xx/1980
       Proceeding:     Trial – Willie James Newman v. Michael Vagnini, et al.
                               Civil Action No. 2:15-cv-01363
       Date/Time:      November 22, 2016 at 8:30 a.m.
       Before:         Hon. J. P. Stadtmueller
                       517 East Wisconsin Avenue, Room 425
                       Milwaukee, Wisconsin

       Respectfully submitted this 14th day of November, 2016.

                                                  s/ Ronald Bornstein
                                                  Ronald Bornstein (SBN 1005019)
                                                  Counsel for Plaintiff
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                                        ORDER


      Upon the foregoing petition, IT IS HEREBY ORDERED that the Clerk issue a Writ of

Habeas Corpus Ad Testificandum as requested:

      Dated at Milwaukee, Wisconsin, this ________ day of November, 2016.




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